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                        UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF IDAHO


  PLANNED PARENTHOOD OF THE                    Case No. 1:18-cv-00319-DCN
  GREAT NORTHWEST AND THE
  HAWAIIAN ISLANDS, a Washington               MEMORANDUM DECISION AND
  Corporation,                                 ORDER

        Plaintiff,

         v.

  LAWRENCE G. WASDEN, in his
  official capacity as Attorney General of
  Idaho; JAN M. BENNETTS, in her
  official capacity as Ada County
  Prosecuting Attorney; GRANT P.
  LOEBS, in his official capacity as Twin
  Falls County Prosecuting Attorney; THE
  INDIVIDUAL MEMBERS OF THE
  IDAHO STATE BOARDS OF
  MEDICINE AND NURSING, in their
  official capacities; and RUSSELL S.
  BARON, in his official capacity as
  Director of the Idaho Department of
  Health and Welfare,

        Defendants.


                                   I. OVERVIEW

       Pending before the Court is Plaintiff Planned Parenthood of the Great Northwest

and the Hawaiian Islands’ (“Planned Parenthood”) Expedited Motion for a Preliminary

Injunction Pending Appeal. Dkt. 30. Having reviewed the record and briefs, the Court



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finds that the facts and legal arguments are adequately presented. Accordingly, in the

interest of avoiding further delay, and because the Court finds that the decisional process

would not be significantly aided by oral argument, the Court will decide the Motion

without oral argument. Dist. Idaho Loc. Civ. R. 7.1(d)(2)(ii). For the reasons set forth

below, the Court finds good cause to DENY the Motion.

                                        II. BACKGROUND

          On August 3, 2018, Planned Parenthood filed a Motion for Preliminary Injunction

(Dkt. 7) seeking to enjoin the State of Idaho from enforcing the Abortion Complications

Reporting Act (“the Act”)1 during the pendency of this litigation. On October 22, 2018,

the Court issued a Decision denying Planned Parenthood’s Motion. Dkt. 24. On October

31, 2018, Planned Parenthood filed an interlocutory appeal seeking review of the Court’s

Decision. Dkt. 25.

          On November 2, 2018, Planned Parenthood filed a Motion seeking a preliminary

injunction pending their appeal of the Court’s Decision denying a preliminary injunction.

Dkt. 30. The Court set an expedited briefing schedule on that Motion. Dkt. 32. Briefing is

now complete,2 and the Motion is ripe for consideration.

                                     III. LEGAL STANDARD

          The Federal Rules of Appellate Procedure provide that a party may request a stay

or seek an injunction in the district court during the pendency of an appeal of a district

court order. Fed. R. App. P. 8. Specifically, Rule 8(a)(1) requires that the party seeking


1
    Idaho Code section 39-9501 et seq. The Act took effect July 1, 2018.
2
    Planned Parenthood elected not to file a reply to its motion. See Dkt. 34.


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relief move first in the district court for an injunction before seeking relief from the court

of appeals. Fed. R. App. P. 8(a)(1).

          The standard applied here is the same as before. A Plaintiff seeking a preliminary

injunction must establish that: (1) they are likely to succeed on the merits; (2) they are

likely to suffer irreparable harm in the absence of preliminary relief; (3) the balance of

equities tips in their favor; and (4) an injunction is in the public interest. Short v. Brown,

893 F.3d 671, 675 (9th Cir. 2018) (internal citations omitted).

                                        IV. ANALYSIS

          As the Court noted in its prior Decision,3 the Ninth Circuit weighs the various

factors of the preliminary injunction test “on a sliding scale” and even if the plaintiffs

have only raised “‘serious questions going to the merits’—that is, less than a ‘likelihood

of success’ on the merits—a preliminary injunction may still issue so long as ‘the balance

of hardships tips sharply in the plaintiff’s favor’ and the other two factors are satisfied.”

Short v. Brown, 893 F.3d 671, 675 (9th Cir. 2018) (italics in original, underlining added).

          In its Decision, the Court found that while there was a “chance of success”

concerning Planned Parenthood’s constitutional challenges, it failed to show that these

questions could not be determined through the normal course of litigation and that

irreparable harm would ensue in the absence of an injunction. Planned Parenthood had

the burden of showing “immediate threatened injury,” see Caribbean Marine Servs. Co.

v. Baldridge, 844 F.2d 668, 674 (9th Cir. 1988), but failed to do so. As the Court noted,



3
    Dkt. 24, at 23.


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the Supreme Court has held that in order to obtain a preliminary injunction, “plaintiffs

must establish that irreparable harm is likely, not just possible. All. for the Wild Rockies v.

Cottrell, 632 F.3d 1127, 1131 (9th Cir. 2011) (emphasis in original); Winter v. Nat. Res.

Def. Council, Inc., 555 U.S. 7, 23 (2008).

       Here, as the Court originally found, while there is always the possibility that harm

may occur, (Dkt. 24, at 21), the Court finds now, as it did previously, that this possibility

is unlikely in the present case. First, the Court found in its Decision that the reporting

requirements—more specifically, the confidentiality provision of the Act—were

enforceable. Accordingly, no relevant personal or identifying information (about either

patients or providers) will be disclosed in the process of reporting under the Act. No harm

will occur from providing the information required under the Act.

       Second, it is unlikely that providers will be subject to professional discipline, or

any adverse action by the State, under the Act. While Planned Parenthood does not seem

to believe the State’s position—and as the Court noted, there is some confusion on the

State’s position in relation to the wording of the Act itself and the instructions to the

Act—there is discretion built into the statute and a provider’s differing—but honest—

medical determination will not be prosecuted. The State will only impose sanctions (i.e.

the feared harm will only occur) if a provider willfully disobeys the law by either not

filing a report at all or by filing a false report.

       The fact that there are some questions which must be litigated regarding whether

there is discretion in determining if a complication is a complication, whether a




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complication arises from an abortion, or whether some complications are too vague, does

not mean that compliance during that time will result in irreparable harm.

         Finally, Planned Parenthood takes issue with the Court’s calculation that the

earliest any harm might occur in this case is December 8, 2018, and reminds the Court

that this case will still be pending after that date. As the Court noted in its Decision, see

Dkt. 24, at 21 n.20, it was not implying that this litigation would be complete by

December 8, 2018, but solely that the harm was not immediate—or frankly even a

possibility at that time. The Court was simply noting that there was no immediacy in the

perceived harm and that during this litigation (even in its early stages) there is the

possibility that some of the issues could be worked out before any harm would ever

occur.

         The Court’s opinions as to timing aside, after reviewing its Decision, all applicable

laws, and the facts of this case, the Court stands by its prior Decision. More relevant here,

the Court finds that nothing has changed since the Court issued its Decision that warrants

a stay during the pendency of Planned Parenthood’s appeal of the Court’s Decision.

         “Under the ‘sliding scale’ approach to preliminary injunctions observed in this

circuit, ‘the elements of the preliminary injunction test are balanced, so that a stronger

showing of one element may offset a weaker showing of another.’” Pimentel v. Dreyfus,

670 F.3d 1096, 1105 (9th Cir. 2012). Here, Planned Parenthood has not met its burden. A

weak showing of likelihood of success on the merits coupled with an even weaker

showing of irreparable harm is insufficient to warrant a preliminary injunction.

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                                   V. ORDER

  1. Planned Parenthood’s Expedited Motion for Preliminary Injunction Pending

     Appeal (Dkt. 30) is DENIED.


                                            DATED: November 9, 2018


                                            _________________________
                                            David C. Nye
                                            U.S. District Court Judge




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